                    Case 2:99-cr-00401-JAM Document 180 Filed 10/10/12 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
              IVAN VERN ENGLISH
                      (Defendant’s Name)                                  Criminal Number: 2:99CR00401 -03


                                                                          MATTHEW SCOBLE, AFD
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      adm itted guilt to violation of charges 2 AND 3 as alleged in the violation petition filed on 8/27/2012 .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:

Violation Number                     Nature of Violation                                     Date Violation Occurred
2                                    UNAUTHORIZED OUT OF DISTRICT                            8/23/2012
                                     TRAVEL
3                                    ILLICIT DRUG USE                                        8/23/2012



The court [U] revokes supervision heretofore ordered on 11/30/2000 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charge 1 is dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 10/2/2012
                                                                 Date of Im position of Sentence

                                                                 /s/ John A. Mendez
                                                                 Signature of Judicial Officer

                                                                 JOHN A. M ENDEZ, United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 10/9/2012
                                                                 Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:99CR00401 -03                                                                Judgment - Page 2 of 2
DEFENDANT:                IVAN VERN ENGLISH



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of 10 MONTHS .




[U]     No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court m akes the following recom m endations to the Bureau of Prisons:
        The Court recom m ends that the defendant be incarcerated in the Sheridan, Oregon facility, but only insofar as
        this accords with security classification and space availability.


[U]     The defendant is rem anded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
